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      Attorneys for Defendants Panasonic Corporation of North America, MT Picture Display Co., Ltd.,
17                and Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)

18                          IN THE UNITED STATES DISTRICT COURT

19                            NORTHERN DISTRICT OF CALIFORNIA

20                                   SAN FRANCISCO DIVISION

21   In re: CATHODE RAY TUBE (CRT) ANTITRUST )            Case No. 07-5944 SC
     LITIGATION                              )
22                                           )            MDL No. 1917
     This Document Relates to:               )
23                                           )            DECLARATION OF MOLLY M.
     DIRECT PURCHASER ACTIONS                )            DONOVAN IN SUPPORT OF
24                                           )            DEFENDANTS’ JOINT MOTION FOR
                                             )            SUMMARY JUDGMENT AGAINST
25                                           )            PURPORTED DIRECT PURCHASER
                                             )            PLAINTIFFS WHO DID NOT
26                                           )            PURCHASE CRTS
                                             )
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     DECLARATION OF MOLLY M. DONOVAN                                               Case No. 07-5944 SC
                                                                                        MDL NO. 1917
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1                    I, Molly M. Donovan, declare as follows:

2                    1.     I am an attorney with Dewey & LeBoeuf LLP, attorneys for Defendants

3    Panasonic Corporation of North America, MT Picture Display Co., Ltd., and Panasonic Corporation

4    (f/k/a Matsushita Electric Industrial Co., Ltd.) in this action. I am a member of the bar of the State

5    of New York and am admitted to practice before this Court pro hac vice. I make this Declaration in

6    support of Defendants’ Joint Motion for Summary Judgment Against Purported Direct Purchaser

7    Plaintiffs Who Did Not Purchase CRTs. If called as a witness, I could, and would, testify to the

8    matters set forth in this declaration of my own personal knowledge.
9                    2.     Attached hereto as Exhibit A is a true and correct copy of the Letter from

10   Geoffrey Rushing to Eric Shapland, dated September 24, 2010.

11                   3.     Attached hereto as Exhibit B is a true and correct copy of Plaintiff Crago

12   D/B/A Dash Computer, Inc.’s Responses to Defendant Hitachi America, Ltd.’s First Set of

13   Interrogatories, dated July 7, 2010.

14                   4.     Attached hereto as Exhibit C is a true and correct copy of Plaintiff Electronic

15   Design Company’s Responses to Defendant Samsung SDI Co. Ltd.’s First Set of Interrogatories,

16   dated July 7, 2010.

17                   5.     Attached hereto as Exhibit D is a true and correct copy of Plaintiff Meijer,

18   Inc.’s and Meijer Distribution, Inc.’s Responses to Defendant Hitachi America, Ltd.’s First Set of

19   Interrogatories, dated July 8, 2010.

20                   6.     Attached hereto as Exhibit E is a true and correct copy of Plaintiff Nathan

21   Muchnick, Inc.’s Responses to Defendant Hitachi America, Ltd.’s First Set of Interrogatories, dated

22   July 7, 2010.

23                   7.     Attached hereto as Exhibit F is a true and correct copy of Plaintiff Orion

24   Home Systems, LLC’s Responses to Defendant Hitachi America, Ltd.’s First Set of Interrogatories,

25   dated July 9, 2010.

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     DECLARATION OF MOLLY M. DONOVAN                                                      Case No. 07-5944 SC
                                                                                               MDL NO. 1917
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1                    8.     Attached hereto as Exhibit G is a true and correct copy of Plaintiff Radio &

2    TV Equipment, Inc.’s Responses to Defendant Hitachi America, Ltd.’s First Set of Interrogatories,

3    dated July 8, 2010.

4                    9.     Attached hereto as Exhibit H is a true and correct copy of Plaintiff Royal Data

5    Services, Inc.’s Responses to Defendant Hitachi America, Ltd.’s First Set of Interrogatories, dated

6    July 7, 2010.

7                    10.    Attached hereto as Exhibit I is a true and correct copy of Plaintiff Studio

8    Spectrum Inc.’s Responses and Objections to Defendant Hitachi America, Ltd.’s First Set of
9    Interrogatories, dated July 7, 2010.

10                   11.    Attached hereto as Exhibit J is a true and correct copy of the Transcript of

11   Motion Hearing, held on May 26, 2011.

12                   I declare under penalty of perjury under the laws of the United States of America that

13   the foregoing is true and correct.

14   Dated: December 12, 2011
15                                                                  /s/ Molly M. Donovan
                                                                        Molly M. Donovan
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     DECLARATION OF MOLLY M. DONOVAN                                                      Case No. 07-5944 SC
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